Case: 4:14-cv-02077-RWS Doc. #: 236 Filed: 12/20/16 Page: 1 of 2 PageID #: 9282




                     UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF MISSOURI

 MISSOURI STATE CONFERENCE OF                  )
 THE NATIONAL ASSOCIATION FOR                  )
 THE ADVANCEMENT OF COLORED                    )
 PEOPLE, ET AL.,                               )
                                               )
                           Plaintiffs,         )
                                               )
 v.                                            ) No. 4:14-cv-02077-RWS
                                               )
 FERGUSON-FLORISSANT SCHOOL                    )
 DISTRICT and ST. LOUIS COUNTY                 )
 BOARD OF ELECTIONS                            )
 COMMISSIONERS,                                )
                      Defendants.              )

                     Motion for Attorneys’ Fees and Non-Taxable Costs

       Come now Plaintiffs, pursuant to 42 U.S.C. § 1988 and 52 U.S.C. § 10310(e), and for the

reasons set forth in the accompanying memorandum in support of this motion and supporting

documentation request this Court award Plaintiffs’ attorneys’ fees and non-taxable expenses. As

explained and documented in Plaintiffs’ memorandum, the lodestar for attorneys’ fees to date in

this case is $1,476,952.75; however, use of a modified lodestar of $1,137,920.05 is appropriate

here. Plaintiffs’ non-taxable expenses should be awarded in the voluntarily reduced amount of

$232,320.43.

                                             Respectfully submitted,


                                             /s/ Anthony E. Rothert
                                             ANTHONY E. ROTHERT, #44827MO
                                             ACLU of Missouri Foundation
                                             454 Whittier Street
                                             St. Louis, Missouri 63108
                                             Phone: (314) 652-3114




                                                1
Case: 4:14-cv-02077-RWS Doc. #: 236 Filed: 12/20/16 Page: 2 of 2 PageID #: 9283




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2016, I filed the foregoing document using the e-

filing system, thereby serving electronic copies via email to all named parties below:


Darold E. Crotzer, Jr.
Kathryn B. Forster
Crotzer and Ormsby, LLC
130 S. Bemiston Avenue, Suite 602
Clayton, MO 63105
Phone: (314) 726-3040
dcrotzer@crotzerormsby.com
kforster@crotzerormsby.com

Cindy Reeds Ormsby
Angela Bullock Gabel
Crotzer and Ormsby, LLC
130 S. Bemiston Avenue, Suite 602
Clayton, MO 63105
Phone: (314) 726-3040
cormsby@crotzerormsby.com
agabel@crotzerormsby.com

John A. Safarli
Floyd, Pflueger & Ringer, P.S.
200 W. Thomas Street, Suite 500
Seattle, WA 98119
Phone: (206) 441-4455
jsafarli@floyd-ringer.com

                                             /s/ Anthony E. Rothert




                                                2
